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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

                        v.                          Case No. 21-cr-177 (CRC)

 DANIEL D. EGTVEDT,

                        Defendant.

                                             ORDER

       Daniel D. Egtvedt has been charged in a nine-count indictment for his participation in the

events at the U.S. Capitol on January 6, 2021. See Superseding Indictment, ECF No. 43. In

advance of a bench trial set for December 5, 2022, the defense has moved to compel additional

discovery. Specifically, Mr. Egtvedt requests an order that the government “allow his defense

counsel and investigator access to several non-public areas of the Capitol building in order to

inspect, photograph and videotape” them. Def.’s Mot. to Compel Access at 1 (“Mot. Compel”),

ECF No. 84. The government opposes this request, which it says is unnecessary and would

create a security risk. At this point, the Court agrees with the government that the requested

discovery is not necessary to the presentation of Mr. Egtvedt’s defense. He also has failed to

address the government’s security concerns. For those reasons, the Court will deny the motion,

without prejudice to renewal if it becomes clear at trial that the information Egtvedt seeks is

relevant to any material dispute of fact.

       First, a bit of background on Mr. Egtvedt’s journey through the Capitol and the areas to

which he now requests additional access. As relevant here, the government alleges that Egtvedt

arrived at an entrance to the Capitol building—the Senate Wing doors—around 2:37 p.m., about

25 minutes after the building was first breached. See Opp’n to Mot. Dismiss Count 4 at 6, ECF

No. 71. At that point, Egtvedt can be seen on U.S. Capitol Police (“USCP”) closed circuit video
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(“CCV”) standing at the doorway, talking to law enforcement through a broken window. Id.

About a minute later, an officer inside the building reached over a makeshift barricade and

sprayed Egtvedt through the window with OC spray, a chemical irritant. See Opp’n to Mot.

Compel at 2–3, ECF No. 87. The government alleges Egtvedt entered the Capitol about ten

minutes later. Id. at 3.

        Based on security footage and social media recordings made from inside the Capitol that

day, Egtvedt then made his way south through the building, toward the Crypt and through to the

Hall of Columns. Id. at 3–4. Around 3:13 p.m., Egtvedt appears on video in the Hall of

Columns, where he encountered officers who told him to leave and motioned toward the exit. Id.

at 4. The government alleges that Egtvedt ignored that order and physically resisted their efforts

to force him out. Id. For his part, Egtvedt claims the OC spray earlier that afternoon had

impaired his eyesight, such that he could not see or comprehend the officers’ instructions. See

Reply at 7, ECF No. 88. In the scuffle, Egtvedt fell (or perhaps was pushed) and hit his head

against one of the large columns in the hallway. See Opp’n to Mot. Compel at 6. In the

government’s telling, Egtvedt declined medical assistance, and two officers “half-carried, half

pushed him toward and out the doorway.” Id. The government alleges that Egtvedt attempted to

reenter the Capitol, but was stopped by several officers. Id. at 6–7.

        In his motion to compel, Egtvedt seeks permission to photograph, videotape, and measure

various distances in the parts of the Capitol he entered on January 6th. Notably, Egtvedt’s

counsel and her investigator have already twice visited these areas during tours USCP arranged

for defense counsel. See Gallagher Decl. ¶¶ 2, 5. Due to security concerns, they were precluded

from taking photographs in areas designated “non-public”—including the Senate Wing doors—

but allowed to do so in public areas. See Exs. 1 & 2 to Mot. Compel. Defense counsel says she



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was told not to photograph the Hall of Columns, even though it was designated as public. Mot.

Compel at 1–2. Counsel also wished to measure the distances between various parts of the

building—including the size of the Senate Wing Doors and the distance between columns in the

Hall of Columns—but was forbidden from doing so. Id. at 2. Because of these limitations, she

asked for further access in a May 3, 2022, letter to the government. Id. at 2. The government

rejected the request, following a determination by the Capitol Police’s General Counsel’s Office

that it would violate established safety protocols. Id. Defense counsel then filed the instant

motion.

       The Court’s decision is guided by Federal Rule of Criminal Procedure 16, which provides

that, under certain circumstances and upon request, “the government must permit the defendant

to inspect and to copy or photograph . . . buildings or places” that are “within the government’s

possession, custody or control.” Fed. R. Crim. P. 16(a)(1)(E). But the government must only do

so where “(i) the item is material to preparing the defense; (ii) the government intends to use the

item in its case-in-chief at trial; or (iii) the item was obtained from or belongs to the defendant.”

Id. The defendant bears the burden of showing materiality under this rule, although the burden

“is not . . . heavy.” United States v. Lloyd, 992 F.2d 348, 351 (D.C. Cir. 1993). Evidence is

material if it “would enable the defendant significantly to alter the quantum of proof in his

favor”—for example, if “it will play an important role in uncovering admissible evidence, aiding

witness preparation, corroborating testimony, or assisting impeachment or rebuttal.” Id. (internal

citations omitted). Rule 16 also gives the Court certain power to regulate discovery, including to

“deny, restrict, or defer discovery or inspection” “for good cause.” Fed. R. Crim P. 16(d)(1).

       The government asks the Court to deny Egtvedt’s motion to compel under Rule 16

because the additional information he seeks is not material to preparing his defense, and because



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the security concerns offer good cause to restrict access. At least based on the record as it

currently stands, the Court agrees.

       Most significantly, Egtvedt has not met his burden to establish that any of this evidence is

material to his defense. In his motion, Egtvedt claims that—despite the voluminous photographs

and video footage of his time in the Capitol already in his possession—he needs to photograph

and measure the distances between various places in the Capitol himself. The existing CCV and

body-worn camera videos, he says, “distort distances between objects in an unreliable way.”

Mot. Compel at 2. This distortion supposedly makes it difficult to assess, among other things,

how far he was from various law enforcement officers when he was attacked with OC spray, and

whether he was close enough to see the gestures of other officers while traversing the Hall of

Columns. See Reply at 2–8.

       There are several problems with this theory. First, it is not clear how the exact distance

between Egtvedt and law enforcement officers during these events is material to any relevant

dispute of fact. Distance could matter most obviously for the OC spray incident. Egtvedt claims

he was sprayed at a very close distance—6 to 12 inches—causing him pain and visual

impairment for the remainder of his time at the Capitol. After reviewing the video footage of the

encounter, the Court agrees that he was likely sprayed from close range. But it is not obvious

how narrowing down the exact distance would help the decisionmaker—which in this bench trial

is the Court—evaluate the effects of the spraying more fully. The information holds particularly

little value because so many other variables are missing—such as how much spray was used or

where Mr. Egtvedt stood in relation to the officer’s outstretched arm. The Court likewise does

not see how knowing the exact distance between Egtvedt and any individual officer in the Hall of

Columns—a relatively small space—would clarify whether he could see their gestures.



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       Second, the Court doubts that many of these proposed photographs and measurements

would even help pin down the distances between objects. Take, again, the OC spray encounter.

The video of the incident shows that an officer 1 inside reached over a makeshift barrier of signs

and podiums and sprayed Egtvedt, who was standing outside of a broken window. But it is not

clear where, exactly Mr. Egtvedt is standing. All that is clear is that he’s somewhere outside the

doors. Even if defense counsel were able to somehow calculate the distance from the officer’s

arm to the window—a dubious proposition—it would still not be obvious how far away the spray

canister was from Mr. Egtvedt’s eyes.

       Third, Mr. Egtvedt already has many tools to establish the details of his path through the

Captiol as or nearly as effectively as the requested photographs and measurements. The

government has produced numerous videos and still photographs from Egtvedt’s time in the

Capitol. Those visual records include many obvious reference distances that could “unskew” the

perspective of the videos—which, to be clear, does not seem all that skewed to the Court’s eye.

For example, the defense could point to the length of the officer’s arm or the baton at the Senate

Wing Doors, see Pl.’s Reply Fig. 1, or Mr. Egtvedt’s height as he traversed the Hall of Columns.

Egtvedt’s counsel and his investigator have also visited all the areas in question twice. An

investigator could easily testify to those distances based on her own estimates: how long it took

her to walk between locations, how far she saw between columns, and so on. And again, it is not


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         Mr. Egtvedt spends much of his reply in support of his motion to compel discussing the
government’s failure, so far, to identify the officer who sprayed him in the eyes. See Reply at 2–
5. The defendant’s request for the officer’s identity, as well as the government’s efforts to track
him down so far, are the subject of a separate pre-trial motion. See Mot. Compel Identity, ECF
No. 62. The Court recognizes that the defendant’s inability to call the officer as a witness at trial
does take away one alternate avenue for establishing how far away he was standing when he
sprayed Egtvedt. But for all the reasons discussed here, taking various measurements around the
Senate Wing Doors is neither a necessary nor a helpful substitute, to the extent the exact distance
is even material at all.


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clear that describing those distances in precise feet or inches—to the extent even possible—

would aid the Court in finding any relevant fact. In sum, because he has not shown that the

requested discovery would “significantly . . . alter the quantum of proof” on any material issue,

Lloyd, 992 F.2d at 351, Egtvedt has not established that he is entitled to additional discovery

under Rule 16(a)(1)(E).

       Even if Egtvedt had met his materiality burden, there is “good cause” to preclude the

requested discovery. Fed. R. Crim P. 16(d)(1). The government has established that allowing

defense counsel to take new photographs and make public exact measurements of the interior of

the Capitol building presents security concerns. According to Sean P. Gallagher, the Acting

Assistant Chief for Uniformed Services for the U.S. Capitol Police, such photographs and

measurements could make public “secret and highly-sensitive security features” in the Capitol

building, including ones added since January 6th. Gallagher Decl. ¶¶ 1, 8. Exact measurements

could be used by adversaries, in Assistant Chief Gallagher’s view, to “calculate blast distances,”

navigate “a drone within the building,” or evaluate “how large of a group could quickly pass

through the hallways.” Id. ¶ 9. In addition, Gallagher attests that allowing one-off additional

tours beyond the ones USCP has already organized would tie up valuable public-safety

resources. Id. ¶ 7. Egtvedt offers no response to these security concerns, which strike this Court

as credible.

       For the foregoing reasons, it is hereby

       ORDERED that [84] Defendant’s Motion to Compel Access to Non-Public Areas of the

Capitol is denied without prejudice to renewal should it become clear that the discovery Egtvedt

seeks is indeed necessary to the presentation of his defense.

       SO ORDERED.



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                                               CHRISTOPHER R. COOPER
                                               United States District Judge

Date: September 12, 2022




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